Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 1 of 11




                Exhibit 7
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 2 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 3 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 4 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 5 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 6 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 7 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 8 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 9 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 10 of 11
Case 3:21-cv-04736-EMC Document 27-8 Filed 11/12/21 Page 11 of 11
